        Case 2:21-cv-00115-RWS Document 1 Filed 05/24/21 Page 1 of 12




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                       GAINESVILLE DIVISION

WILLIAM L. MAY III,                             )
                                                )
       Plaintiff,                               )
                                                )
v.                                              )    CIVIL ACTION FILE NO.
                                                )
DERRICK N. WILLOCK, and                         )
OLD DOMINION                                    )
FREIGHT LINE, INC.,                             )
                                                )
       Defendants.                              )

     COMPLAINT FOR DAMAGES AND DEMAND FOR TRIAL BY JURY

       COMES NOW Plaintiff William L. May III in the above-styled action and

hereby files this Complaint as follows:

                                          1.

       Plaintiff William L. May III is an individual and citizen of the State of South

Carolina and subjects himself to the jurisdiction of this Court.

                                          2.

       Defendant Derrick N. Willock is an individual and citizen of the State of

Georgia residing at 4203 Swamp Cypress Trail, Gainesville, Hall County,

Georgia 30504.




                                          -1-
        Case 2:21-cv-00115-RWS Document 1 Filed 05/24/21 Page 2 of 12




                                       3.

      Defendant Willock has been properly served with sufficient process in

this action.

                                       4.

      Defendant Old Dominion Freight Line, Inc. (hereinafter "Old

Dominion") is a foreign entity incorporated under the laws of the State of

North Carolina with its principal office address at 500 Old Dominion Way,

Thomasville, Davidson County, North Carolina, 27360.

                                       5.

      Defendant Old Dominion is registered to conduct business in the State of

Georgia and may be served with process through its registered agent, CT

Corporation System, at 289 S. Culver Street, Lawrenceville, Gwinnett County,

Georgia 30046.

                                       6.

      Defendant Old Dominion has been properly served with sufficient

process in this action.

                                       7.

      This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1332(a)(l) as more than $75,000.00 is in controversy and Plaintiff

andDefendants are citizens of different states.
                                      -2-
        Case 2:21-cv-00115-RWS Document 1 Filed 05/24/21 Page 3 of 12




                                         8.

      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(c) and (d), as

Defendants maintain minimum contacts and transact business in the Northern

District of Georgia, Gainesville Division, and are subject to personal jurisdiction in

the Northern District of Georgia, Gainesville Division.

                                          9.

      Further, venue is proper in this Court as outlined and described in 28 U.S.C.

§ 90 (the Northern District of Georgia consists of four divisions). Defendant

Willock resides in Hall County, one of the counties comprising the Gainesville

Division as outlined in LR 3.1 and LR App. A, I. Under LR 3.1(B)(1)(a), an action

may be brought in any division in which one defendant resides.

                                         10.

      The collision at issue in this action occurred in Greenville County, South

Carolina.

                                       FACTS

                                         11.

      At all times relevant to this action, Defendant Old Dominion operated as

an interstate common carrier of goods for hire.




                                         -3-
          Case 2:21-cv-00115-RWS Document 1 Filed 05/24/21 Page 4 of 12




                                       12.

      At all times relevant to this action, Defendant Old Dominion employed

Defendant Willock as an interstate commercial driver.

                                       13.

      At all times relevant to this action, Defendant Willock held a commercial

driver’s license.

                                       14.

      At all times relevant to this action, Defendant Old Dominion furnished

Defendant Willock with a tractor-trailer to carry out his duties.

                                       15.

      At all times relevant to this action, Defendant Willock was in the course

and scope of his employment and agency with Old Dominion.

                                       16.

      At all times relevant to this action, Defendant Willock suffered from

diabetes.

                                       17.

      At all times relevant to this action, Defendant Willock was aware poorly

controlled blood glucose levels posed a threat to his faculties and the motoring

public.


                                       -4-
         Case 2:21-cv-00115-RWS Document 1 Filed 05/24/21 Page 5 of 12




                                        18.

        At all times relevant to this action, Defendant Old Dominion had

knowledge that Defendant Willock was diabetic.

                                        19.

        At all times relevant to this action, Defendant Old Dominion was aware

poorly controlled blood glucose levels posed a threat to Defendant Willock’s

faculties and the motoring public.

                                        20.

        Based upon Defendant Willock’s physical appearance and medical

history, Defendant Old Dominion knew or should have known that

Defendant’s diabetes was poorly controlled and placed the motoring public at

risk.

                                        21.

        At approximately 8:20am on May 24, 2019, Defendant Willock was

operating a 2016 Freightliner Tractor towing a double trailer in the southbound

lanes of I-85 near its Pelham Road exit in Greenville County, South Carolina.

                                        22.

        At the same time and place, heavy traffic conditions caused the flow of

southbound traffic to slow to a stop.


                                        -5-
       Case 2:21-cv-00115-RWS Document 1 Filed 05/24/21 Page 6 of 12




                                       23.

      At the same time and place, Defendant Willock failed to appreciate and

slow for the stopped traffic ahead, causing him to crash into the rear of and

crush a Honda Civic sedan—killing the driver.

                                       24.

      After crushing the Honda Civic sedan, Defendant Willock continued

forward and crashed into the rear of Plaintiff May III’s Honda Odyssey van,

shoving the van left and crashing it into I-85’s median wall.

                                       25.

      After crashing into Plaintiff May’s van, Defendant Willock continued

forward, causing his tractor-trailer to jack-knife, where it came to an

uncontrolled rest off of southbound I-85’s shoulder.

                                       26.

      While at the scene of the collision, Defendant Willock reported

confusion to EMS.

                                       27.

      While at the scene of the collision, EMS tested Defendant Willock’s

blood glucose level, which was 335 mg/dl.




                                      -6-
        Case 2:21-cv-00115-RWS Document 1 Filed 05/24/21 Page 7 of 12




                                          28.

      The force of the collision caused bodily injuries and a traumatic brain

injury to Plaintiff May III.

                                          29.

      As a direct and proximate result of the collision, Plaintiff May III has

and will continue to incur medical expenses, has incurred lost income, has

suffered a diminution in his earning capacity, suffered permanent impairment,

and has and will continue to suffer pain and mental anguish.

                            FIRST CAUSE OF ACTION
                           (Negligence/Negligence per se)

                                          30.

      Plaintiff May III re-alleges the allegations of Paragraphs 1 through 29 above

as if restated verbatim.

                                          31.

      Defendant Willock’s conduct was willful, wanton, careless, negligent,

grossly negligent, and reckless in the following particulars:

   a) In operating his vehicle at an improper speed for existing roadway and traffic

      conditions;

   b) In failing to keep a proper lookout;

   c) In failing to see and observe things that a reasonable person should see and

      observe;                           -7-
        Case 2:21-cv-00115-RWS Document 1 Filed 05/24/21 Page 8 of 12




   d) In failing to maintain reasonable vigilance and anticipate others’ use of the

      roadway;

   e) In following other vehicles too closely;

   f) In failing to appropriately apply his brakes or otherwise stop or move his

      vehicle;

   g) In failing to sound his horn;

   h) In driving his tractor-trailer in a careless and heedless fashion on the roadway

      so as to endanger the motoring public;

   i) In failing to abide by the proper rules and regulations concerning appropriate

      rest;

   j) In driving in an impaired and fatigued condition;

   k) In driving recklessly;

   l) In failing to use the degree of care and skill required by a safe driver under the

      same or similar circumstances; and

   m) In failing to abide by the Federal Motor Carrier Safety Act.

                                          32.

      That the above acts and omissions were the direct and proximate cause of the

injuries and damages sustained by Plaintiff May III herein, the said acts and

omissions being in violation of the common and statutory law of the State of South

Carolina, the Federal Motor Carrier Safety Act, and such other law as may apply.
                                       -8-
        Case 2:21-cv-00115-RWS Document 1 Filed 05/24/21 Page 9 of 12




                           SECOND CAUSE OF ACTION
                               (Imputed Liability)

                                         33.

      Plaintiff May III re-alleges and incorporates herein the allegations contained in

paragraphs 1 through 32 above as if fully restated.

                                         34.

      At the time of the subject collision, Defendant Willock was operating his

vehicle on behalf of, for the purposes of, under the dispatch of, and with the

knowledge and consent of Defendant Old Dominion.

                                         35.

      At the time of the subject collision, Defendant Willock was the agent and

employee of Defendant Old Dominion and was acting in the course and scope of his

agency with, employment of, or in the furtherance of Defendant Old Dominion’s

business interests.

                                         36.

      Defendant Old Dominion is responsible for the actions of Defendant

Willock in regards to the subject collision under the doctrine of respondeat

superior, lease liability, agency, and/or apparent agency.




                                         -9-
       Case 2:21-cv-00115-RWS Document 1 Filed 05/24/21 Page 10 of 12




                           THIRD CAUSE OF ACTION
            (Negligent Hiring, Training, Supervision, and Entrustment)

                                         37.

      Plaintiff May III re-alleges and incorporates herein the allegations contained

in paragraphs 1 through 36 above as if fully restated.

                                         38.

      Defendant Old Dominion was negligent, negligent per se, careless,

reckless, willful, and wanton in one or more of the following ways:

   a) in hiring Defendant Willock and entrusting him to drive on the highways of

      South Carolina;

   b) in failing to properly train Defendant Willock;

   c) in failing to properly supervise Defendant Willock;

   d) in failing to implement safety practices to assure safe operation of vehicles by

      its drivers;

   e) in failing to exercise that degree of care and caution that a reasonable and

      prudent company would have exercised under the circumstances then and

      there prevailing;

   f) Defendant Old Dominion’s conduct is the sole and proximate cause of

      the collision and the Plaintiff’s resulting injuries; and

   g) In failing to abide by the Federal Motor Carrier Safety Act.

                                         - 10
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       Case 2:21-cv-00115-RWS Document 1 Filed 05/24/21 Page 11 of 12




                                         39.

   This cause of action is not prohibited under South Carolina law. See James et al.

v. Kelly Trucking Co. et al., 377 S.C. 628, 661 S.E.2d 329 (2008) (South Carolina

does not prohibit plaintiff from pursuing a negligent hiring, training, supervision,

or entrustment claim once respondeat superior liability has been admitted).

                                         40.

      That the above acts and omissions were the direct and proximate cause of the

injuries and damages sustained by Plaintiff May III herein, the said acts and

omissions being in violation of the common and statutory law of the State of South

Carolina, the Federal Motor Carrier Safety Act, and such other law as may apply.

                          FOURTH CAUSE OF ACTION
                             (Punitive Damages)

                                         41.

      Plaintiff May III re-alleges and incorporates herein the allegations contained

in paragraphs 1 through 40 above as if fully restated.

                                         42.

      Defendant Old Dominion’s conduct was reckless, willful, and wanton, and

demonstrates a conscious indifference to the consequences of its actions and

omissions, and entitles Plaintiff May III to an award of punitive damages.

   WHEREFORE, Plaintiff prays that:

   a) Process issue as provided by law; - 11
                                         -
      Case 2:21-cv-00115-RWS Document 1 Filed 05/24/21 Page 12 of 12




  b) Plaintiff has a trial by jury;

  c) Plaintiff be awarded actual damages in amounts to be shown at trial from

     Defendants;

  d) Plaintiff be awarded all general, special, compensatory, punitive, and other

     allowable damages in accordance with the enlightened conscience of an

     impartial jury from the Defendants and as permitted by law; and

  e) Plaintiff has such other relief as this Court deems just and proper.

     PLAINTIFF HEREBY DEMANDS A TRIAL BY JURY.

  Respectfully submitted this 24th day of May, 2021.

                                               /s/ T. Charles Blaska II
                                               T. Charles Blaska II
                                               Georgia State Bar No. 940640
                                               Dana J. Norman
                                               Georgia State Bar No. 545790
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                                        - 12
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